          Case 1:21-cr-00247-JDB Document 92 Filed 04/25/23 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                    :
                                            :
                v.                          :         CASE. NO. 21-CR-00247
                                            :
                                            :
BRADLEY WAYNE WEEKS,                        :
                                            :
                      Defendant.            :

                              JOINT SCHEDULING MOTION

       The United States, by and through its attorney, the United States Attorney for the District

of Columbia, respectfully requests that the court issue a scheduling order for sentencing in this

case. The parties propose the following schedule for the court’s review:

                                      Proposed Dates

 Final Presentence Investigation      May 26, 2023

 Party Briefs                         June 16, 2023

 Response Briefs                      June 30, 2023

 Sentencing                           July 11, 2023



                                            Respectfully submitted,

                                            MATTHEW M. GRAVES
                                            UNITED STATES ATTORNEY

                                     By:    ____/s/__________________________
                                            JAMIE CARTER
                                            D.C. Bar No. 1027970
                                            ASSISTANT UNITED STATES ATTORNEY
                                            601 D STREET, N.W., ROOM 4.210
                                            WASHINGTON, DC 20530


                                                1
Case 1:21-cr-00247-JDB Document 92 Filed 04/25/23 Page 2 of 2




                           (202) 252-6741
                           Jamie.Carter@usdoj.gov

                     By:   ____/s/__________________________
                           Kathryn E. Fifield
                           Trial Attorney
                           U.S. Department of Justice, Criminal Division
                           601 D Street, N.W.
                           Washington, D.C. 20530
                           (202) 320-0048
                           Kathryn.fifield@usdoj.gov


                           ____/s/__________________________
                           Matthew R. Kachergus, Esquire
                           Florida Bar No: 503282
                           Elizabeth L. White, Esquire
                           Florida Bar No.: 314560
                           Sheppard, White, Kachergus, & DeMaggio, P.A.
                           215 Washington Street
                           Jacksonville, Florida 32202
                           Telephone: (904) 356-9661
                           Facsimile: (904) 356-9667
                           Email: sheplaw@sheppardwhite.com
                           COUNSELS FOR THE DEFENDANT




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